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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

IN RE:

SECURITIES AND EXCHANGE
COMMISSION,                                       Case No. 12-cv-15062
               Plaintiff,
vs.                                               Hon. Thomas L. Ludington

JOEL I. WILSON, et al..

                      Defendants.
                                      /

                  RECEIVER’S FINAL REPORT AND REQUEST FOR
                       ORDER DISSOLVING RECEIVERSHIP

      NOW COMES Randall L. Frank, Receiver, who submits to this Court his Final
Report in his status as Receiver, and further requests that this Court dissolve the
Receivership and discharge the Receiver from any further duties, stating as follows:

         (1)   At the hearing before this Court on December 13, 2019, the Receiver had
               requested entry of orders approving the final applications of all
               professionals, and the Court granted said relief because the Receiver had
               assured the Court that all duties of the Receiver would have been
               finalized on or before January 24, 2020.

         (2)   However, because of unexpected intervening events, the Receiver was
               unable to close the Receivership on or before January 24, 2020, but now
               is able to do so as all restrictions to closing the case have been satisfied
               and/or removed.

         (3)   Attached hereto is a summary of all cash receipts and disbursements
               from January 24, 2013 through February 29, 2020.

         (4)   The attached summary reflects that the estate now has the total sum of
               $21,082.65 on hand which the Receiver defines for these purposes as a
               “Closure Reserve”.

         (5)   The purpose of the Closure Reserve is to fund any final tax obligations
               associated with the Receivership including accounting fees for preparing
               2020 tax returns, miscellaneous incidental expenses and funds still held
               by Receiver for investors who filed claims, but whose checks were never
               cashed or whose mail with the claim check was returned undeliverable.
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      (6)    In the Closure Reserve, there is approximately $14,000 of investor funds
             that the Receiver has been unable to disburse, but which the Receiver will
             deliver upon locating said investors.

      (7)    Once the Receiver determines that all expenses of the Receivership have
             been satisfied and certain investor funds remain unclaimed, those
             remaining funds in the Closure Reserve will be turned over to the United
             States Securities and Exchange Commission for its disposition of same.

      (8)    Other than filing final tax returns for 2019, and perhaps 2020, and locating
             investors with unclaimed funds, the Receiver has performed all duties and
             responsibilities assigned to him pursuant to the original order appointing
             him as Receiver entered on January 24, 2013, and as amended.

      (9)    The Receiver may also have additional expenses from disposing books
             and records of the Receivership Defendants in possession of Receiver as
             the Receiver knows of no one to whom these books and records are to be
             turned over or released.

      (10)   The Securities and Exchange Commission, through its counsel, was
             provided a proposed copy of this Final Report and order and approved the
             filing of same.

      (11)   The Receiver requests entry of an order dissolving the Receivership,
             finding as follows:

             (a)   Dissolves the receivership;

             (b)   Discharges the Receiver and his professionals and provides
                   appropriate releases to them;

             (c)   Establishes a Closure Reserve;

             (d)   Makes any other provision that the Receiver deems necessary or
                   appropriate to facilitate the closure of the estate or carry out the
                   provisions of the order appointing the Receiver; and

             (e)   Closes this civil action.
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           WHEREFORE, Randall L. Frank, Receiver, requests that this Court accept his
    Final Report, and enter an order discharging him as Receiver and dissolving this
    Receivership and for whatever other and further relief the Court may deem just and
    equitable.

                                                    /s/ Randall L. Frank
    Dated: March 10, 2020                           __________________________
                                                    Randall L. Frank (P33189)
                                                    Receiver
                                                    P.O. Box 2220
                                                    Bay City, MI 48707-2220
                                                    (989) 893-2461
                                                    randall.frank@gmail.com




                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been properly

forwarded to all counsel of record via the ECF Filing System, per the Federal Rules of Civil

Procedure, on this 10th day of March, 2020.


                                                       /s/ Randall L. Frank
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                 SUMMARY OF CASH RECEIPTS AND DISBURSEMENTS
                  JANUARY 24, 2013 THROUGH FEBRUARY 29, 2020
                                                           TOTAL            %

        Cash Receipts
            Land Contract Payments:                    $    499,445.31    11.34%
            Rental Payments:                               1,389,476.19   31.56%
            Property Sales & Land Contract Pay Offs:       2,145,068.89   48.72%
            Security Deposits:                                65,613.00    1.49%
            Insurance Refunds:                                40,966.69    0.93%
            Interest Income:                                   4,929.77    0.11%
             Loan Proceeds 1st State Bank:                  184,751.41      4.20%
             Sterne Agee Proceeds:                           55,014.43      1.25%
             Other Misc Proceeds:                            18,032.99      0.41%
        Total Cash Receipts                            $ 4,403,298.68     100.00%

        Cash Disbursements
             Advertising                               $     10,312.96     0.23%
             Accounting & Professional Fees                 148,601.75     3.37%
             Court & Legal Fees                             352,894.32     8.01%
             Distributions to Investors                     962,800.92    21.87%
             Insurance - Business                             9,924.00     0.23%
             Interest Expense                                27,718.74     0.63%
             Loan Origination Fees                           14,098.85     0.32%
             Office Expense                                  24,753.12     0.56%
             Permits & Licenses                              15,262.58     0.35%
             Property Appraisal & Inspection Fees            46,713.95     1.06%
             Property Closing & Settlement Fees             271,854.42     6.17%
             Property Insurance Exp                         156,565.75     3.56%
             Property Management Fees                       310,120.12     7.04%
             Property Repairs & Maintenance                 566,082.47    12.86%
             Property Taxes                                586,566.71      13.32%
             Property Utilities                            150,178.47       3.41%
             Receiver Fees                                 531,647.00      12.07%
             Rental Income Transfer                          1,670.34       0.04%
             Repayment of Loan Proceeds                    184,751.41       4.20%
             Security Deposit Refunds & Transfers           30,236.65       0.69%
             Taxes - Income Tax                                523.97       0.01%
        Total Disbursements                            $ 4,403,278.50     100.00%

        Net Cash Increase (Decrease)                   $         20.18      0.00%


        Reconciliation To Bank Accounts

             Beginning Bank Balances Jan 24, 2013      $     21,062.47
                  Net Increase                                   20.18
             Ending Bank Balances Feb 29, 2020         $     21,082.65
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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

IN RE:

SECURITIES AND EXCHANGE
COMMISSION,                                       Case No. 12-cv-15062
               Plaintiff,
vs.                                               Hon. Thomas L. Ludington

JOEL I. WILSON, et al..

                      Defendants.
                                      /


                 ORDER ACCEPTING RECEIVER’S FINAL REPORT,
             DISCHARGING RECEIVER AND DISSOLVING RECEIVERSHIP

      The Court having approved the Receiver’s Final Report and the Court being
otherwise advised in the premises:

          IT IS ORDERED that Randall L. Frank (the “Receiver”) is discharged as Receiver
with the effect that the Receiver, his employees, agents, professionals, contractors,
attorneys, accountants, and any and all other persons who acted on behalf of the
Receiver, are hereby discharged and released of any and all claims, obligations and
liabilities, arising from or relating to the activities, conduct, acts, omissions, decisions,
management and operation of the Receivership Defendants and this release shall
extend to any actions by the Receiver for post-dissolution activities consistent with the
final report submitted by the Receiver.

         IT IS FURTHER ORDERED that the Receiver may retain the sum of $21,082.65,
as his Closure Reserve as defined in the Receiver’s Final Report and upon completion
of all tasks in the discretion of the Receiver as set forth in the Final Report, any
remaining funds in the Closure Reserve shall be turned over to the United States
Securities and Exchange Commission.

         IT IS FURTHER ORDERED that the Clerk is directed to close this civil action.
